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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



W.D., a minor child, by and through
his Parents and Natural Guardians,                        Civil File No: ______________
M.J.D. and M.C.D.,
                                                    MEMORANDUM OF LAW IN
                                                     SUPPORT OF MOTION FOR
                     Plaintiffs,
                                                    TEMPORARY RESTRAINING
                                                      ORDER, PRELIMINARY
v.
                                                         INJUNCTION, and
                                                       WAIVER OF SECURITY
Minnesota State High School League
and Craig Perry individually and in
his official capacity.

                     Defendants.




                                   INTRODUCTION

       Plaintiffs submit this Memorandum of Law in support of their request for a

temporary restraining order and preliminary injunction, as well as a waiver of security, to

restrain and enjoin Defendants from determining that W.D. (“WD”) is ineligible for

varsity athletics and to allow WD to be eligible for varsity athletics at Lakeville North

High School (“LNHS”).

                                         FACTS

       The facts are as stated in the Complaint filed on November 13, 2012, and as

supplemented by Exhibits, Affidavits, and the file as a whole, are incorporated herein by

reference.
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                                         ARGUMENT

       In determining whether a temporary restraining order is warranted, the court

considers five factors:

   1. The likelihood that one party or the other will prevail on the merits when the fact

       situation is viewed in light of established precedents fixing the limits of equitable

       relief;

   2. Whether or not the harm to be suffered by Plaintiffs if the restraint is denied

       outweighs that inflicted on the Defendants if the injunction is issued;

   3. The aspects of the fact situation, if any, that permit or require consideration of

       public policy expressed in the statutes, state and federal;

   4. The administrative burdens involved in judicial supervision and enforcement of

       the temporary decree; and

   5. The nature of the relationship between the parties pre-existing the dispute giving

       rise to the request for relief.

Dahlberg Bros., Inc. v. Ford Motor Co., 137 N.W.2d 314, 321-22 (Minn.1965)

(temporary injunction standards); see also M.G.M. Liquor Warehouse Intern, Inc. v.

Farsland, 371 N.W.2d 75, 77 (Minn.Ct.App.1985).

       This analysis is similar to the federal standard on whether to grant a preliminary

injunction which evaluates:

   1. The movant’s likelihood of success on the merits;

   2. The balance between this harm and the injury that granting the injunction will

       inflict on the other litigants;

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     3. The threat of irreparable harm to the movant; and

     4. The public interest.

Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 114 (8th Cir. 1981). The four

Dataphase factors must be established by Plaintiffs as the moving party, and Plaintiffs

must show first that the likelihood of succeeding on the merits is sufficiently high so as to

warrant examination of the other three factors. See CDI Energy Servs., Inc. v. W. River

Pumps, Inc., 567 F.3d 398, 402 (8th Cir. (2009). In the instant case, Plaintiffs likelihood

of succeeding on the merits is great, the harm suffered by Defendants is non-existent, the

threat of irreparable harm to the movant is certain, and the public interest weighs in favor

of granting the instant motion.

A.      PLAINTIFFS’ LIKELIHOOD OF SUCCESS IS GREAT

        Plaintiffs are likely to prevail in showing that the League’s Bylaws and its actions

violated WD’s constitutionally protected rights and are additionally in violation of

several MN statutes. Plaintiff alleges that the League has violated his right to due process

under the Fourteenth Amendment of the United States Constitution, that the League has

violated the terms of its contract, that the League has breached its fiduciary duty, that the

League has violated Minnesota Open Meeting Laws and Minnesota Laws requiring

public notice of eligibility rules. A permanent injunction is appropriate to prevent the

harm that most certainly will negatively impact Plaintiffs because of the League’s

eligibility determination.

        Plaintiffs’ Complaint alleges five counts: Count One alleges due process violations

of the Fourteenth Amendment, Count Two alleges a breach of contract, Count Three

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alleges a breach of fiduciary duty, Count Four alleges a breach of Minnesota open

meeting laws, and Count Five alleges a violation of Minnesota Statute requiring that

notice be given to the public regarding eligibility rules. Prevailing on Counts One, Two,

Three, or Five would result in a permanent injunction being appropriate.

       1.       Plaintiffs are Likely to Prevail on Count One Alleging Due Process
                Violations of the 14th Amendment and Count Five Alleging a
                Violation of Minn. Stat. § 128C.03.

       The Due Process Clause of the Fourteenth Amendment forbids states to “deprive

any person of life, liberty, or property without due process of law ….” U.S. Const.

amend. XIV, § 1.

In addition, Minnesota Statute § 128C.03 provides that the League “shall adopt

procedures to ensure public notice of all eligibility rules ….” Thus, the analysis under

both counts is similar in that to the extent WD was deprived due process by way of lack

of notice, the public was similarly denied notice in violation of Minn. Stat. § 128C.03.

       At the outset, it is important to note that “[i]t is well established in Minnesota that

the Minnesota State High School League [“the League”] acts under the color of state law

in its decision-making capacity. G.H. v. Minn. State High Sch. League, 2002 Minn. App.

LEXIS 1141. The league's regulatory activity likewise involves state action because of

the involvement of state school officials in the structure of the association. The rules

governing league members are promulgated pursuant to a procedure that involves

member school districts. Id. League rules and regulations govern eligibility of students

to participate in league-sponsored activities; therefore, the league's determination of a


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person's eligibility involves state action for the purposes of analysis of a due-process

claim. Id. That said, the League itself is not a state agency, is not governed by the

Administrative Procedure Act (“APA”), and is instead a non-profit promulgated under

Minn. Stat. § 317A. Minn. Stat. § 128C.02 subd. 4; Minn. Stat. § 317A; See Minn. Op.

Att’y Gen. 1035, 1999 Minn. AG LEXIS 5 (Aug. 23, 1999) (stating that the “exact nature

of the League as it has evolved is … quite ambiguous. It is generally identified as: A

non-profit corporation that is a voluntary association of high schools.” (citations

omitted)). In this case, WD has been deprived of a property interest protected by the

Fourteenth Amendment, specifically eligibility to participate in varsity athletics, without

adequate process of law by private parties acting while clothed in certain delegated

powers of the state and Plaintiffs are therefore likely to prevail under Count I. See

Generally Krentz v. Robertson Fire Prot. Dist., 228 F.3d 897, 902 (8th Cir. 2000).

              a.     Minnesota Recognizes a Property Right to Participate in Varsity
                     Athletics Which is Protected by the Due Process Clause of the
                     Fourteenth Amendment

       The Minnesota Constitution requires the state to maintain a system of public

schools that is “general and uniform” as well as “thorough and efficient….” Minn. Const.

art. XIII, § 1. Under Minn. Stat. § 120A.22, subd. 5, children between the ages of 7 and

16 are required to attending school. Minn. Stat. § 120A.22, subd. 5. Because Minnesota

guarantees an education to students such as WD, his property interest in a public

education is protected by the Fourteenth Amendment’s Due Process Clause. See Goss v.

Lopez, 419 U.S. 565, 574 (1975) (holding that because Ohio maintained a school system


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that it required children to attend, the state was “constrained to recognize a student’s

legitimate entitlement to a public education as a property interest which is protected by

the Due Process Clause”); In re Expulsion of N.Y.B., 750 N.W.2d 318, 327 (Minn. Ct.

App. 2008) (“Education is a fundamental right in Minnesota, as well as property interest

protected by the Due Process Clause of the Fourteenth Amendment to the United States

Constitution.” (citations omitted)).

       Federal Courts for the District of Minnesota have held that students have a

constitutionally protected property interest in participating in varsity interscholastic

sports. See J.K. v. Minn. Pub. Schools et. al., 849 F. Supp. 2d 865, 876 (2011 U.S. Dist.);

See Giblin v. Minnesota State High School League, 1982 U.S. Dist. LEXIS 13539 at *8).

The Minnesota Supreme Court has held that “participation in interscholastic activities [is]

an important and integral facet of the youth’s education process….”           Thompson v.

Barnes, 200 N.W.2d 921, 926 n. 11 (Minn. 1972). That Court has also cited with favor

Kelly v. Metropolitan County Board of Education of Nashville and Davidson County,

which held that “the right or interest that the … students were deprived of by virtue of the

one year suspension, i.e., the right to engage in secondary school athletics, is of such

significance and worth as to require that the proceedings which resulted in the one year

suspension conform to the standards of due process.” 293 F. Supp. 485, 492 M.D. Tenn.

1968. In addition, the Minnesota Attorney General found that for certain purposes

interscholastic sports are “co-curricular” rather than “extra-curricular” activities. Minn.

Op. Att’y Gen. 169-X, 1977 Minn. AG LEXIS 8, 1977 WL 36280 (Sept. 22, 1977). The

Eighth Circuit Court of Appeals has weighed in on the issue as well, stating that

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“participating in interscholastic sports is a substantial and cognizable” interest. Brenden

v. Ind. School Dist. No. 742, 477 F.2d 1292 (8th Cir. 1973). As such, it is irrefutable that

WD has a property right protected by the Fourteenth Amendment which cannot be taken

away without adequate process.

       The League’s Bylaws and their subjective interpretation and enforcement deny

WD of a constitutionally protected property right. Students know through custom and

usage in the sport’s community that the League grants eligibility in circumstances other

than a “bona fide residence change”, but are forced to wait until after a transfer is

finalized, under League Bylaw 300.3(C)(2) for the League to determine if their particular

circumstance is a sufficient circumstance to warrant eligibility. The League’s fallback

that the student retains eligibility under Bylaw 300.3 (C)(6) fails for two reasons. First, it

ignores the common sense reality of student life- what student wants to play for the

school they just left, and for that matter what varsity coach will pick and play a student

that just left their school. Practically speaking, the transfer student has a strong interest in

doing what he or she can do to quickly immerse themselves in their new school.

Secondly, the Bylaws themselves take away the “sending school varsity option” once the

student appeals the eligibility determination. Bylaw 300.3(C)(6)(11). In this case, WD’s

property right was extinguished by the League the minute he showed up at LNHS. WD

has been deprived of his constitutionally protected right to maintain eligibility and all that

remains in analyzing Plaintiffs’ likelihood of success on the merits under Count One is

how the League’s Bylaws themselves, as well as the implementation, interpretation, and



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enforcement of those Bylaws does not afford Plaintiffs due process with relation to WD’s

eligibility to play varsity athletics.

               b.      The League’s Bylaws Either Plainly Provide that WD Should Have
                       Been Deemed Eligible or in the Alternative are So Vague as to be
                       Void

       Starting with the Bylaws themselves, as this is what the Plaintiffs relied upon

before making the final determination to transfer, eligibility determinations and the rules

governing them are set forth in League Bylaws 111 and 300. Bylaw 300 provides eight

common sense circumstances that warrant the League granting student eligibility such as

family finances, a death in the family, academics and administrative error. Bylaw 300

provides    in pertinent part that circumstances warranting the granting of eligibility,

include but are not limited to:

   5) Enrollment in an Advance Placement program, an International Baccalaureate
      program or similar advanced academic program not offered at the school the
      student attends. […]

   8) Other conditions not covered above but which may be agreed to by both the
      Sending and Receiving Schools.

The League is a non-profit corporation promulgated under Minn. Stat. s. 317A, and

therefore its Bylaws are those of a non-profit corporation. Minn. Stat. § 128C.01, subd 1;

Minn. Op. Att’y Gen. 1035, 1999 Minn. AG LEXIS 5 (Aug. 23, 1999). In examining

corporate bylaws, a court examines them to determine their plain meaning. Isaacs v.

American Iron & Steel Co., 690 N.W.2d 373, 375 (Minn. App. 2004); Mauer, et al., v.

Kircher, 587 N.W.2d 512, 513 (Minn. App. 1998); American Commerce Ins. Brokers, Inc.


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v. Minn. Mut. Fire & Cas. Co., 551 N.W.2d 224, 227-28 (Minn. 1996). The language of

Bylaw 300.03(A)(5) explicitly provides that one of the exceptions to ineligibility is

“Enrollment in an Advance Placement program, an International Baccalaureate program

or similar advanced academic program not offered at the school the student attends.”

There is no mention of any additional standard or requirement, or that if the sending

school has any advanced program that then the student cannot rely upon this exception.

By its plain meaning, if the student is enrolled in an advanced academic program not

offered at the sending school then he or she fits within the exception of Bylaw

300.03(A)(5). Also by its plain meaning, if the student was determined to not be in an

advanced academic program, then his or her situation does not fall within Bylaw

300.3(A)(5). In other words, WD would either be covered by (A)(5) or not.

       If not, then WD could avail himself of (A)(8) provided that the sending and

receiving schools agreed. In this case, Plaintiffs were informed that the schools could not

provide a preliminary opinion of WD’s eligibility status because he had not transferred.

That said, AHA supported his eligibility from as early as July 10, 2012 by way of letter

and LNHS supported his eligibility immediately on learning of WD’s academic purpose.

In addition, the League does not offer advisory opinions of whether or not a particular

student will be eligible. Under Bylaw 300.3(C)(2)- “Transfer eligibility determinations

and transfer eligibility appeals can only be submitted to the League once the student has

completed the transfer.”However, it is customary and common in the              Plaintiffs’

community that: (1) students transfer schools without a “bona fide residence change”,

such as apartment rentals for a limited duration, and were still eligible for varsity

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athletics; and (2) the League stated that academic transfers were “routinely approved”.

Plaintiffs had no meaningful and legitimate access to previous examples of League

enforcement, such as past eligibility decisions, so as to have an understanding of the

League’s interpretation of its Bylaws. While the League has the ability to publish its

interpretations in its yearly eligibility brochure and on its website, it has chosen not to do

so.

        It was under these facts that Plaintiffs had to decide whether WD would transfer to

LNHS. Considering those facts, it was reasonable for Plaintiffs to predict that because

WD was transferring for academic purposes, to a receiving school which offered an

advanced academic program not offered by the sending school, with the support of the

sending school, and receiving school, that WD would be eligible for varsity athletics in

either one of two ways: (1) the academic purpose exception under 300.3(A)(5) or the

mutual agreement exception under 300.3(A)(8). Plaintiffs had no notice that the

exceptions to ineligibility as stated in Bylaw 300.3(A)(1-8), that commonly apply to other

transfer students, would not apply to WD’s situation. Here, in contrast to the League’s

disjointed and unpublished interpretation, the Bylaws plainly provide that WD should be

eligible.

        In the alternative, if this Court determines that the plain meaning of the Bylaws

can be read differently than as was read by Plaintiffs, and that another reading also leads

to a reasonable result causing WD to be ineligible, then the Bylaws are so vague as to be

void.       In Stephenson v. Davenport Community Sch. Dist., when evaluating the

constitutionality of a school ban against gang symbols, the 8th Circuit noted that:

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       A vague regulation is constitutionally infirm in two significant respects.
       First, the doctrine of vagueness incorporates notions of fair notice or
       warning, and a regulation violates the first essential of due process of law
       by failing to provide adequate notice of prohibited conduct. In short, a
       regulation is void-for-vagueness if it forbids or requires the doing of an act
       in terms so vague that persons of common intelligence must necessarily
       guess at its meaning and differ as to its application. Second, the void-for-
       vagueness doctrine prevents arbitrary and discriminatory enforcement. A
       vague law impermissibly delegates basic policy matters to policemen,
       judges, and juries for resolution on an ad hoc and subjective basis.
110 F.3d 1303, 1308 (8th Cir. 1997).

       If this Court finds that a plain meaning of Bylaw 300.3(A) could forbid a student

transferring at the expense of maintaining a students’ eligibility where the student had a

reasonable belief that he or she would be eligible under 300.3(A)(5) or (A)(8), then the

Bylaws forbid transferring while maintaining eligibility in terms so vague that persons of

common intelligence must necessarily guess at its meaning and differ as to its

application. This is so because then two plain interpretations would exist, one allowing

for eligibility and the other forbidding it and this possible result is exactly the type which

renders the Bylaws so vague as to be void and unenforceable.

              c.     The League’s Implementation, Interpretation, and Enforcement of its
                     Bylaws are Arbitrary and Unreasonable in Violation of WD’s
                     Substantive Due Process Rights

       In maintaining a policy or practice of determining varsity eligibility based on an

unpublished League interpretations of the Bylaws, Defendants’ implementation,

interpretation, and enforcement of the Bylaws did not afford WD due process. The

League’s own interpretation of its Bylaws shifted three distinct times: (1) the October 2,

2012 Ineligibility Determination inventing the “exceptional circumstances criteria”

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standard for transfer eligibility determinations; (2) the position of the League from

October 5, 2012 through October 25, 2012 which was that the presence of AP courses at

the sending school precludes Bylaw 300.3(A)(5) from being a valid exception to

ineligibility; and (3) the Hearing Officer’s standard as stated in the October 29, 2012

Recommendation that an “advanced academic program” must be published in order to

constitute an AP program which would be grounds for granting eligibility. Plaintiffs, and

for that matter the public at large, have absolutely no notice that these three shifting

standards for eligibility would be superimposed upon the League Bylaws.

                       (1)    Plaintiffs were Never Given Notice of the Unpublished
                              “Exceptional Circumstances Criteria” Identified in the
                              Ineligibility Determination
The Plaintiffs had no notice of an “exceptional circumstances criteria” standard for

transfer eligibility determinations prior to October 2, 2012 when the Ineligibility

Determination was made. The Bylaws, League website and League-published eligibility

brochure never use the phrase “exceptional circumstances.” Because the League does not

give advisory opinions, there was no possible way to obtain notice of this standard prior

to WD’s decision to transfer. Perry stated at the Hearing 1 that the League had a “long

standing policy” of only allowing transfers in “exceptional circumstances”. This is

exactly the type of arbitrary and discriminatory enforcement the Fourteenth Amendment

is meant to guard against as the League’s unwritten policy impermissibly delegates basic

policy matters to the associate director of the League for resolution on an ad hoc and
1
 Multiple references occur in this brief and Plaintiffs’ Complaint to the Hearing which occurred
on October 25, 2012. Though Plaintiffs have requested a transcript of this hearing, one has not
been provided to the Plaintiffs and therefore it has not been incorporated into the record as of the
date of this Motion.
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subjective basis. Stephenson 110 F.3d at 1308. No further explanation was given by the

League or Perry as to what “exceptional circumstances” meant, how it was applied, or

what the League considered “exceptional”. The public currently does not have notice of

the League’s “exceptional circumstances” standard.

                    (2)    Plaintiffs were Never Given Notice of the Unpublished
                           Interpretation of the League that AHA’s Offering of AP
                           Courses Caused Exception 300.3(A)(5) to Not Apply to WD’s
                           Eligibility Appeal
      The position of the League shifted from its October 2 position and from October

19, 2012 through October 25, 2012 was that the presence of any AP course at the sending

school precludes Bylaw 300.3(A)(5) from being a valid exception to ineligibility. This,

again, unwritten standard is not stated in (A)(5), and goes against the plain language of

(A)(5) which only requires “Enrollment in an Advance Placement program, an

International Baccalaureate program or similar advanced academic program not offered

at the school the student attends.” Further, it would bar any student who chose an

academic transfer from varsity eligibility in the over 200 schools that offer AP or

equivalent courses. The League’s position in this regard was in response to Plaintiffs’

evidence showing that WD had an academic plan together whereby he would be enrolled

over the next two years in AP Microeconomics, AP Macroeconomics, Business

Communications, DECA, AP Psychology, Accounting 1 and 2, and Principals of

Marketing, all of which AHA did not offer. Affidavit of Thomas Knothe, Exhibit B,

Document #0134-0135. Cf. WD’s Schedule, Exhibit B, Document # 0012 with AHA

course offerings Document # 0017-0064.


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       It would be simple for the League to have the (A)(5) exception conclude: “….if

the Sending School does not offer any Advanced Placement courses, any International

Baccalaureate courses or any advanced academic courses.” Because this was not done,

the League’s novel second interpretation of its own Bylaws was never communicated to

Plaintiffs before WD’s decision to transfer and thereby deprived Plaintiffs of notice that

this interpretation existed. The League’s justification for its unpublished interpretation is

that it did not want to partake in “curriculum comparison”. By (A)(5) plain language, a

comparison is necessary in that the League must determine if the academic exception was

“not offered at the school the student attends.” Again, the League’s justification of its

unsupported interpretation makes little sense in light of the plain reading of the Bylaw

and could have simply been corrected by a minor redraft of the Bylaw or publication of

its interpretation via its newsletters, yearly eligibility brochure or its website. This lack

of notice deprived WD of due process as it relates to his eligibility for varsity athletics.

                     (3)     Plaintiffs were Never Given Notice that the League’s Hearing
                             Officer Would Create for the First Time a Distinction
                             Between “Plans” “Programs” and “Schedules”
       The League’s interpretation of its Bylaws continued its to change throughout the

appeal process. Unrebutted evidence at the Hearing established that WD was

participating in an advanced academic program at LNHS which was not offered by AHA.

This was agreed to by AHA, LNHS, an expert witness, and even to some extent the

League’s attorney. The League offered no testimony to the contrary. As stated above,

the League’s position at the Hearing was simply that because AHA offered some AP

courses, albeit not the courses offered at LNHS,           the academic purpose exception

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300.3(A)(5) did not apply. The Hearing Officer found that WD’s transfer was not for an

“athletic purpose” and commended WD on the rigor of WD’s course load, but went on to

state that:

       In this case, the Student, his parents, his tutor and school administrators
       created a specific course schedule over the next two years designed to
       advance his individual educational goals. This plan and the designed
       courses are not part of any specific Advanced Business Program at LNHS.
       Rather, they are courses, mostly electives, which appear in one of the many
       “Career Pathways” offerings at LNHS. These “Pathways” are not
       Advanced Placement Programs. The Advanced Business Program at
       LNHS does not appear in any course catalogue at LNHS, nor is it
       advertised to potential students. Rather, it appears to be a plan specifically
       designed to meet the desired goals of one individual student. Self-designed
       courses, schedules, and plans are commendable. However, that does not
       rise to the level of an Advanced Placement Program as contemplated by
       Bylaw 300.3.A.5.

Exhibit D, Document # 155 (emphasis added). In other words, the Hearing Officer did

not state that WD’s academic course load was not “advanced” nor did he state that WD’s

academic plan at LNHS was “offered” at AHA. Instead, the Hearing Officer determined

that WD’s plan did not constitute a “program” and therefore 300.3(A)(5) did not apply.

This determination is completely at odds with the plain meaning of the words “plan” and

“program”. “Plan” is defined by The American Heritage Dictionary of the English

Language, as:

              1. A scheme, program, or method worked out beforehand for the
                 accomplishment of an objective: a plan of attack.
              2. A proposed or tentative project or course of action: had no plans for the
                 evening.
              3. A systematic arrangement of elements or important parts; a configuration or
                 outline: a seating plan; the plan of a story.

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          4. A drawing or diagram made to scale showing the structure or arrangement
             of something.
          5. In perspective rendering, one of several imaginary planes perpendicular to
             the line of vision between the viewer and the object being depicted.
          6. A program or policy stipulating a service or benefit: a pension plan.

Fourth Edition copyright 2000, published by Houghton Mifflin Company (updated in

2009) (emphasis added). A “program” is defined as:

          1.
                 a. A listing of the order of events and other pertinent information for a
                    public presentation.
                 b. The presentation itself: a program of piano pieces.
          2. A scheduled radio or television show.
          3. An ordered list of events to take place or procedures to be followed; a
             schedule: a program of physical therapy for a convalescent.
          4. A system of services, opportunities, or projects, usually designed to meet a
             social need: "Working parents rely on the center's after-school latchkey
             program" (New York Times).
          5.
                 a. A course of academic study; a curriculum.
                 b. A plan or system of academic and related or ancillary activities: a
                    work-study program.
                 c. A plan or system of nonacademic extracurricular activities: the
                    football program.
          6. A set of coded instructions that enables a machine, especially a computer,
             to perform a desired sequence of operations.
          7. An instruction sequence in programmed instruction.

Id. (emphasis added). The overlap in the definition of the two words clearly shows that a

person of ordinary intelligence would treat the words synonymously in the context of

WD’s appeal. That the Hearing Officer would parse such a fine distinction between

words in order to arrive at the League’s desired result, ineligibility, is without any

justification. In any event there was absolutely no notice provided to Plaintiffs prior to

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WD’s decision to transfer to LNHS that the Bylaws would be interpreted in this third,

arbitrary and nonsensical manner by the League. This lack of notice concerning the

interpretation of 300.3(A)(5) substantively deprived WD of due process when Plaintiffs

made the decision to transfer to LNHS.

       Further, the League’s unpublished interpretation of the applicability of Bylaw

300.3(A)(8) flies in the face if it’s plain meaning. When it came to evaluating

300.3(A)(8), the two schools agreed at the Hearing that WD should be eligible, however

the Hearing Officer determined that WD’s appeal was “covered” by (A)(5) and therefore

(A)(8) did not apply, thus rendering WD still ineligible. A reasonable plain reading of

(A)(5) supports the position that WD’s transfer and academic plan either qualifies as a

program or it does not. If it does not, then it is not a situation “covered” by (A)(5).

Absolutely no notice existed that the Hearing Officer would engage in this type of legal

contortionism with relation to the Bylaws, indeed it was not even anticipated by the

League’s associate director or attorney, who took a different position at the Hearing.

       In sum, Plaintiffs had no notice that the Bylaws would be interpreted contrary to a

plain interpretation of Bylaw 300.3(A) through an unpublished and constantly shifting

standard which placed policy making in the hands of individuals at the League who each

came up with their own unique standard concerning WD’s eligibility. In this respect the

League’s interpretation and enforcement of its Bylaws was arbitrary, unreasonable,

discriminatory and unfairly surprised Plaintiffs.       For the aforementioned reasons,

Plaintiffs are likely to prevail under Counts One and Five of their Complaint and

therefore this factor weighs in favor of granting a preliminary injunction.

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      2.     Plaintiffs are Likely to Prevail on Count Two Alleging a Breach of
             Contract on Behalf of the League or Count Three Alleging a
             Breach of a Fiduciary Duty on Behalf of the League

      A corporation’s articles of incorporation embody a contract between the state and

the corporation, as well as among the shareholders. Humphrey v. Delano Community

Dev. Corp. 571 N.W.2d 233, 233 (Minn. 1997); Midland Coop. Wholesale v. Range

Coop. Oil Ass’n, 274 N.W. 625, 625 (1937). In this case, WD was party to the League’s

Bylaws by virtue of the yearly Eligibility Statement all co-curricular participants are

required to sign. Read with this background, WD was agreeing to refrain from things

such as doing drugs, drinking alcohol, or bullying other students in exchange for

eligibility in co-curricular activities. Therefore, there is a contract between the League

and WD concerning his eligibility.

      As stated earlier, the League is a non-profit corporation promulgated under Minn.

Stat. § 317A, and therefore its Bylaws are those of a non-profit corporation. In

examining corporate bylaws, a court examines them to determine their plain meaning.

Isaacs 690 N.W.2d at 375. WD signed an agreement promising to abide by the Bylaws in

exchange for his eligibility.   Because principles of contract interpretation apply in

interpreting the League Bylaws, any ambiguity with regard to Bylaw 300.03(A)(5) or

(A)(8) should be construed against the drafter and in favor of WD. American Commerce

Ins. Brokers, 551 N.W.2d at 227; Hydra-Mac Inc. v. Onan Corp., 450N.W.2d 913, 917

(Minn. 1990). WD has not violated any Bylaw, to the contrary he has followed every

single requirement that has been asked of him, and Plaintiffs have properly categorized


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WD’s situation as one which falls under the plain reading of Bylaw 300.3(A) which

should therefore grant him eligibility.

        If this Court determines that WD does not have a contractual relationship with the

League, then he at a minimum is a third-party beneficiary of the clear contract between

the member schools, the League, and the state. The Bylaws contain mission statements

of what the League stands for, in part: “providing educational opportunities” for students

through interscholastic athletics and fine arts programs; allowing for “equal opportunity

to participate in all activities offered” by the students’ school; working “collaboratively”

with parents to enhance a school's opportunity to positively impact student success; and

ensuring that school-sponsored “activities must be inclusive, not exclusive.” The mission

statement section of the Bylaws, when read with the rules governing eligibility of

transfers, create a duty to third-party beneficiaries to abide by the Bylaws in such a

manner so as to construe the transfer eligibility rules in light of the mission statements: to

provide the most students as possible with co-curricular opportunities . When this is

done, it is clear that the League has acted in a manner inconsistent with its Bylaws to the

detriment of WD. For the aforementioned reasons, WD is likely to prevail on either

Count Two alleging a breach of contract or on Count Three alleging a breach of fiduciary

duty.   Prevailing on either of these counts would cause it to be appropriate that a

permanent injunction granting WD eligibility issue and therefore this factor weighs in

favor of granting a preliminary injunction.




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B.     THE BALANCE BETWEEN THIS HARM AND THE INJURY THAT GRANTING THE
       INJUNCTION WILL INFLICT ON THE OTHER LITIGANTS FAVORS GRANTING THE
       PRELIMINARY INJUNCTION

       The harm to be suffered by WD if the restraint is denied outweighs that inflicted

on the Defendants if the injunction is issued. WD would be deprived of varsity eligibility

at LNHS while the season was underway.         WD is a junior and desires to play hockey.

The Minnesota High School Hockey season is short and covers only 25 games over

basically three months. The harm inflicted on WD were the in injunction not granted is

great as he would lose the very thing this suit seeks to preserve, his eligibility. The

League, on the other hand, is not affected in any manner whatsoever by WD being

granted eligibility. There is no way in which the League would be harmed by allowing a

student who undisputedly transferred under these facts to be varsity eligible. As the

League Hearing Officer stated, WD is not to be punished, he is to be “commended”.

Considerations of this factor weigh unquestionably and strongly in favor of a preliminary

injunction being issued.

C.     THE THREAT OF IRREPARABLE HARM TO PLAINTIFFS IS CERTAIN

        The hockey season began at LNHS on November 12, 2012 and ends roughly

three months later. Every day that WD misses is a day that cannot be recovered; it is

irreparably lost. In other words, if a preliminary injunction does not issue Plaintiffs

would lose the case before it even got to a dispositive motion or trial on the merits.




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D.     THE PUBLIC INTEREST FAVORS GRANTING A PRELIMINARY INJUNCTION

       Public policy is in favor of allowing cases to go forward on their merits without

being deprived of a significant right by the length of time the judicial process requires. A

preliminary injunction preventing Defendants from barring Plaintiff from fully

participating in his education furthers these interests. Defendants may try to argue that

deference needs be given the League as it is acting as an agency. Minn. Stat. § 128C.02

subd. 4 specifically exempts the League from the APA and therefore it is not treated the

same as an agency, therefore no deference should be given in any circumstance. The MN

Attorney General further issued an advisory opinion to the MN State Auditor that the

League is for all practical purposes a private non-profit corporation. Minn. Op. Att’y Gen.

1035, 1999 Minn. AG LEXIS 5 (Aug. 23, 1999).

       Even if this Court disagreed with the above analysis, and found that deference

could in certain circumstances be given to the League, in this case no deference should be

afforded to the League. Even agencies should provide regulated parties fair warning of

the conduct a regulation prohibits or requires. Christopher v. Smithkline Beecham Corp.,

80 U.S.L.W. 4463 (U.S. 2012).        Adequacy of notice to regulated parties has been

identified as one factor relevant to the reasonableness of the agency's interpretation and

the application of a regulation in a particular situation may be challenged on the ground

that it does not give fair warning that the allegedly violative conduct was prohibited. Id.

Importantly, courts will not accord substantial deference to an agency's interpretation of

an ambiguous rule in circumstances where the rule did not place the individual or firm on

notice that the conduct at issue constituted a violation of a rule. Id. Thus, in the instant
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case, even if arguendo the League were entitled to some deference in other cases, the

unfair surprise present in this case serves to deprive the League of any deference it might

otherwise be afforded.

       Finally, the League may attempt to argue that granting a preliminary injunction

prevents the League from operating and enforcing its rules. First, as it is enforcing vague

Bylaws without due process it is unclear how the public interest should promote the

continuation of this practice.    Second, in Giblin, the League itself stipulated to a

preliminary injunction granting eligibility, and thus its past willingness to allow a

preliminary injunction to issue undercuts its position in this respect. Third, public policy

and the League’s own mission support WD’s eligibility. He is not attempting to return

after a suspension for substance abuse or bullying, he did not make a transfer for an

athletic purpose, instead, as agreed to by the sending and receiving schools and the

League, he simply transferred for an advanced academic purpose.             To deny WD

eligibility because his undisputed academic transfer fails to meet the League’s

unpublished interpretation would result in WD being punished more severely by the

League under its Bylaws than a three time offender of the League substance abuse policy.

See League Bylaw 205.2(A-D). For all of the above reasons, the public interest supports a

preliminary injunction being issued.

                                       CONCLUSION

       WD’s constitutionally protected right to be eligible to participate in varsity

athletics has been deprived.     That deprivation occurred without notice, without due

process, and in violation of Minnesota Statute. The League has failed to uphold its end of
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the contract as set forth in the Bylaws, has refused to abide by its fiduciary duties, is

violating Minnesota law, and is violating the Constitution of the United States in its

drafting, implementation, enforcement, and interpretation of its Bylaws to the detriment

of Plaintiffs. Therefore Plaintiffs respectfully request that a preliminary injunction issue.



Respectfully Submitted,


Dated: November 14, 2012                         WAGNER, FALCONER & JUDD, LTD.


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